  Case 3:19-bk-31753-SHB        Doc 59 Filed 10/21/19 Entered 10/21/19 10:14:24           Desc
                                 Main Document Page 1 of 2




SO ORDERED.
SIGNED this 18th day of October, 2019

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




       ________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                    NORTHERN DIVISION

              James Patrick Howell                      CASE # 19-31753-SHB
              10330 North River Trail                   CHAPTER 13
              Knoxville,TN 37922
              SS #xxx-xx-3428


              SS #xxx-xx-

 ORDER DIRECTING INTERNAL REVENUE SERVICE TO TRANSMIT REFUND TO TRUSTEE

   This above debtor(s) having filed a voluntary petition for relief in this Court pursuant to Chapter
13 of Title 11 of the United States Bankruptcy Code and further, as a provision of the Chapter 13
plan, having dedicated any tax refunds to which such debtor(s) may be entitled to fund such plan
and this Court, being vested with the authority to direct such refunds be paid to the Trustee
pursuant to 11 U.S.C. §1325(c) and 11 U.S.C. 105, it is therefore:

      ORDERED that the Internal Revenue Service transmit and pay to the Standing Chapter 13
Trustee:
                       Chapter 13 Trustee
                       c/o Gwendolyn M. Kerney, Trustee
                       P.O. Box 228
                       Knoxville, TN 37901

any and all tax refunds to which the debtor(s) might be entitled pending further orders of the Court.
                                               ###
  Case 3:19-bk-31753-SHB      Doc 59 Filed 10/21/19 Entered 10/21/19 10:14:24   Desc
                               Main Document Page 2 of 2


APPROVED FOR ENTRY:


s/ Gwendolyn M. Kerney
GWENDOLYN M. KERNEY, #07280
Chapter 13 Trustee
P.O. Box 228
Knoxville, TN 37901
(865) 524-4995

cc:   Internal Revenue Service
      Ryan E. Jarrard, Attorney for Debtor(s)
      James Patrick Howell/
